                            UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 In re:                                                    : Chapter 13
                                                           :
 Geddes Sean Schubert Gibbs,                               : Case No. 5:23-00406-MJC
 Natalie Fashina Langley Gibbs,                            :
                                                           :
                   Debtors.                                :
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                             ORDER GRANTING MOTION TO DISMISS

           Upon consideration of the Trustee’s Motion to Dismiss, Dkt. # 109 (“Motion”), no

 response having been filed thereto, after a hearing held on August 10, 2023, and for the reasons

 stated on the record,1 it is hereby

           ORDERED that the above-captioned case is hereby DISMISSED.

           The Court retains jurisdiction over the Motion for Sanctions Against Alfred McZeal

 Pursuant to Federal Rules of Bankruptcy Procedure 9011 filed in the Adversary Proceeding 5:23-

 AP-14, Dkt. #20.




                                                                   By the Court,



                                                                   _____________________________
                                                                   Mark J. Conway, Bankruptcy Judge
                                                                   Dated: August 10, 2023




 1
     The Court's findings and conclusions were stated on the record in open court pursuant to F.R.B.P. 7052.




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